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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF KENTUCKY
                              LEXINGTON DIVISION

RICK DAVENPORT, et al.,             )               CASE NO.: 5:08-cv-00127-KKC
                                    )
            Plaintiffs,             )               JUDGE KAREN K. CALDWELL
                                    )
v.                                  )
                                    )
GLA COLLECTION COMPANY,             )               STIPULATION AND AGREED ENTRY
INC.,                               )               AND ORDER DISMISSING CASE
                                    )               WITH PREJUDICE
            Defendant.              )
____________________________________)

       Now come the parties and stipulate to the dismissal of this case with prejudice. It is there

ORDERED that this case be dismissed with prejudice. Each party to bear its own costs and

attorney fees.
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      /s/Rick Davenport and Deborah Davenport, /s/Boyd W. Gentry, per authority
      Rick Davenport and Deborah Davenport
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      Plaintiffs




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June 13, 2008
